     Case 4:18-cv-03407 Document 69 Filed on 12/10/21 in TXSD Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

EQUAL EMPLOYMENT OPPORTUNITY §
COMMISSION,                  §
                             §
             Plaintiff,      §
                             §
v.                           § CIVIL ACTION NO. 4:18-cv-03407
                             §
WAL-MART STORES TEXAS, LLC., §
                             §
             Defendant.      §     JURY TRIAL DEMANDED




   JOINT EXPEDITED MOTION TO CANCEL DOCKET CALL SETTING


      Plaintiff Equal Employment Opportunity Commission (“Plaintiff”) and

Defendant Walmart Stores Texas, LLC (“Defendant”) (Plaintiff and Defendant are

herein collectively referred to as “the Parties”), and hereby move the Court to cancel

the Docket Call Setting of December 10, 2021. In support of this motion, the Parties

would show the Court as follows:


      1. Through negotiations between them, the Parties have reached terms to

         resolve this litigation through the entry of a Consent Decree.

      2. The Parties have filed a Joint Motion to Enter the Consent Decree with the

         Consent Decree attached as an exhibit.

      3. As a result, the parties no longer desire to try this matter before a jury.


      FOR THESE REASONS, Plaintiff and Defendant jointly and respectfully

request that the Court to cancel its Docket Call Setting.
Case 4:18-cv-03407 Document 69 Filed on 12/10/21 in TXSD Page 2 of 3




                               Respectfully submitted,


                               FOR THE PLAINTIFF:

                               Respectfully submitted,


                               RUDY SUSTAITA
                               Regional Attorney

                               KATHY D. BOUCHEE
                               Supervisory Trial Attorney



                               /s/ Lloyd S. van Oostenrijk
                               LLOYD S. VAN OOSTENRIJK
                               Trial Attorney/Attorney-in-Charge
                               State Bar No. 24056467
                               Federal ID No. 695844

                               U.S. EQUAL EMPLOYMENT
                               OPPORTUNITY COMMISSION
                               1919 Smith Street, 7th Floor
                               Houston, Texas 77002
                               346.327.7718
                               713.651.7995 (Fax)
                               lloyd.vanoostenrijk@eeoc.gov
                               COUNSEL FOR PLAINTIFF,
                               U.S. EQUAL EMPLOYMENT
                               OPPORTUNITY COMMISSION



                               FOR THE DEFENDANT:


                               /s/ Nancy L. Waters, by permission (lsv)
                               Nancy L. Waters
                               Attorney-in-Charge
                               State Bar No. 00787352
                               nwaters@gpd.com
                               James N. Zoys
     Case 4:18-cv-03407 Document 69 Filed on 12/10/21 in TXSD Page 3 of 3




                                      State Bar No. 24028155
                                      jzoys@gpd.com
                                      Geary, Porter & Donovan, P.C.
                                      16475 Dallas Parkway, Suite 400
                                      Addison, Texas 75001-6837
                                      972.931.9901 (Telephone)
                                      972.931.9208 (Telecopier)

                                      ATTORNEYS FOR DEFENDANT
                                      WALMART STORES TEXAS, LLC



                          CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Joint Motion to Enter
Consent Decree has been served on all counsel of record on December 10, 2021, by
electronic transmission via the Court’s ECF system.

                            /s/ Lloyd S. van Oostenrijk
                              Lloyd S. van Oostenrijk
